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Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 2 of 75
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Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 9 of 75
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Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 12 of 75
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 13 of 75
     Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 14 of 75
Case:           CC2022-14452                                                City Of Miami Beach Case Notes Summary
Case Status:    Fine Owed                                                                      Printed on: 11/27/2024
Open Date:      12/02/2022                                                                                 Page 1 of 2
Close Date:
Case Description: Section 12-5: Conducting a Special Event without a permit.
REF: Conducting a special event in the City of Miami Beach without a permit.
Notice of violation issued.
1st offense: $1000 fine.

Note Text                                                                Created By                Date
Created invoice # 00448908 per ACCA approval. Updated status to          JulioNunez@miamibeachfl.gov01/04/2024
reflect Fine Owed. Sent invoice by regular mail.
SM Order uploaded /Fine imposed                                          LauraAguilar@Miamibeachfl.gov
                                                                                                    11/07/2023

Submitted to Clerical–Invoicing                                          KennethVarela@miamibeachfl.gov
                                                                                                  10/23/2023

Letter returned by mail-Task created and assigned to CCO.                NicolasGarcia@miamibeachfl.gov
                                                                                                    10/18/2023

Case submitted to CCA Varela for review and invoicing.                   DannyGiraldo@miamibeachfl.gov
                                                                                                   10/16/2023
D. Giraldo 752.
Special master: Annette E. Cannon.                                       DannyGiraldo@miamibeachfl.gov
                                                                                                   10/16/2023
City attorney: Steve Rothstein.
City Clerk: Isabel Satchell.
Case was Adjudicated guilty 1st offense $1000 fine. The fine must be
paid by 11/15/2023.
D. Giraldo 752.
Certified Notice of Violation to be re-send.                             NicolasGarcia@miamibeachfl.gov
                                                                                                    08/01/2023
Placed file in certified drawer
Tracking #: 9214 8901 9403 8324 8478 95
Date Mailed: 8/4/23
Date Received: __/__/__
Date Returned: __/__/__
04/10/2023 SM HEARING - APPEAL - SPECIAL EVENT - 1ST                     DannyGiraldo@miamibeachfl.gov
                                                                                                   04/12/2023
OFFENSE: $1,000 -
APPEAR: MICHAEL MARRERO, ESQ., VERONICA HENNING; INSP.
BLANCO
1: Pursuant to the agreement of the parties, a continuance is granted.
2: This case is continued to June 12, 2023.
Received NOV signed by CCO / Prepared and sent certified mail and        NicolasGarcia@miamibeachfl.gov
                                                                                                    01/10/2023
placed file in certified drawer.
Submitted to Clerical–Certified mail                                     KennethVarela@miamibeachfl.gov
                                                                                                  12/15/2022

Case submitted to CCA Varela for review and certified mail.              DannyGiraldo@miamibeachfl.gov
                                                                                                   12/02/2022
D. Giraldo 752.




                                                                                                            Ex. 1
Case:Case 1:24-cv-24690-KMM
             CC2022-14452            Document 7-1 Entered on FLSDCity
                                                                  Docket   12/02/2024
                                                                      Of Miami          Page
                                                                               Beach Case     15Summary
                                                                                          Notes  of 75
Case Status: Fine Owed                                                                          Printed on: 11/27/2024
Open Date:   12/02/2022                                                                                     Page 2 of 2
Close Date:
Case Description: Section 12-5: Conducting a Special Event without a permit.
REF: Conducting a special event in the City of Miami Beach without a permit.
Notice of violation issued.
1st offense: $1000 fine.

Note Text                                                                  Created By                Date
REF: Conducting a special event in the City of Miami Beach without a       DannyGiraldo@miamibeachfl.gov
                                                                                                     12/02/2022
permit.
This is a companion case for cases CC2022-14447 and ZV2022-04497.
I responded to an email complaint in reference to an event that was
taking place at 42 Star Island Dr. The email was from Veronica Hennig
from the Tourism & Culture department. In the email it states that the
Film & Print Permit has been canceled and they were to leave the
property and not to come back. Upon my arrival I saw activity taking
place in the property. I observed a shuttle coming in the property and
then exiting. I also observed people being dropped off at the property. I
also observed 5 security guards at the front of the property. I approached
the guards and I asked to speak to the person in charge. They called a
male individual, I identified myself and I asked for his name, and he
refused to identify himself. I asked the individual for a permit, and he
furnished permit # 22-442, which was the revoked permit. When talking
the individual, I observed as a woman entered the property and as she
walked in, she asked the guards if this was where the event was taking
place, the guard's response was yes and to enter the property. I finished
my conversation with the person in charged and I checked energov for a
special events permit. None was found. Person who claims to be the
Manager of the event refused to sign notice.
Notice of violation issued.
BWC used and photos taken.
D. Giraldo 752.
    Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024  Page 16 of 75
                                                                  Code Compliance Department
                                                                                                                                    1680 Meridian Avenue
                                                                                                                                                  Suite 602
                                                                                                                                Miami Beach, Florida 33139
                                                                                                                                       Tele: 305.673.7555
                                                                                                                                        Fax: 305.673.7012
                                                           Notice of Violation
                                          12/2/2022                                                              Case Number CC2022-14452
Violation Notice Date:             Date                            Time
                                                                          2:45 PM
Address of Violation:               42 STAR ISLAND DR                                                                          Unit

Parcel Number:                      0242040010350
Legal Description:                  STAR ISLAND CORR PL PB 31-60 LOT 42 LOT SIZE 48266 SQ FT OR 18281-1490 0998 4
Violator Name:                      Private Music, LLC- Valenzuela, Yomil
Mailing Address:                    9848 NORTHWEST 56TH PL                                      City and State   Coral Springs , FL            Zip Code 33076


 The City of Miami Beach Code Compliance Department has determined that the above Property has violated the Miami Beach Code of Laws and
 Ordinances (the “City Code”). This violation is the 1st offense, and this Notice of Violation carries a fine (and other monetary charges) of $1,000.00.
 Specifically, Code Compliance Officer Danny Giraldo has found there to be a violation(s) of the City Code, which is/are:
 Section 12-5: Conducting a Special Event without a permit.

Reference:                         Conducting a special event in the City of Miami Beach without a permit

 You can comply by immediately ceasing said Special Event and paying a fine.                  1st Offense $1000.00,
 2nd Offense $2500.00 within a 12 month period                                                                            3rd and Subsequent Offense
 $5000.00 or arrest within a 12 month period
 Fine(s) must be paid within 72 hours of receipt of the violation. A copy of the violation must accompany the payment. Please make checks or
 money orders payable to: City of Miami Beach. Payment can be mailed or taken in person to: The Finance Department (Cashier), 1700 Convention
 Center Drive, 1st floor, Miami Beach, FL 33139.

 Fine(s) and/or violations may be appealed within Ten (10) days of receipt of the notice of violation. To appeal a fine and/or violation, submit a written
 request for an appeal hearing to the Clerk of the Special Magistrate - 1700 Convention Center Dr., Miami Beach, FL 33139. A check for $116
 (administrative charges) must accompany the request along with the case number.

 Failure to pay the fine or request an appeal hearing in the manner indicated above shall constitute a waiver of the violator's right to contest the citation
 and shall be treated as an admission of the violation.

 The City may institute proceedings in a court of competent jurisdiction to compile payment of civil fine(s). The certified copy of the order imposing civil
 fine(s) may be recorded in the public records and thereafter shall constitute a lien upon any real or personal property owned by the violator.
                                                                                                                             Phone and Extension:
  Issuing Code Compliance Officer                                Name:                                  Badge #
                                                                 Danny Giraldo                          752                   (305) 673-7555 ext 26946
                                                                 Email:
                                                                 DannyGiraldo@miamibeachfl.gov
  Received By                                                   Compliance Date                Received Date                   Received Time
       Certified Mail                                          12/02/2022                                                      2:45 PM


                                                                      ADA Information

         To request this material in accessible format, sign language interpreters, information on access for persons with disabilities, and/or any
      accommodation to review any document or participate in any City-sponsored proceeding, please contact 305.604.2489 (voice), 305.673.7524
           (fax) or 305.673.7218 (TTY) five (5) days in advance to initiate your request. TYY users may also call 711 (Florida Relay Service).




                                                                                                        Giraldo, Danny




      Danny Giraldo
          Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 17 of 75

   Ob OFFICE OF THE PROPERTY APPRAISER
                                                                     Summary Report
                                                                                                                                                        Generated On : 12/2/2022

                                                                                                                                  j-
 Property Information

 Folio:                                     02-4204-001-0350

                                            42 STAR ISLAND DR
 Property Address:
                                             Miami Beach, FL 33139-5146

                                             LEONARD M HOCHSTEIN
 Owner
                                             C/O GRAY ROBINSON PA

                                            42 STAR ISLAND DR
 Mailing Address
                                             MIAMI BEACH, FL 33139 USA

 PA Primary Zone                            2200 ESTATES - 25000 SOFT LOT

                                            0101 RESIDENTIAL - SINGLE
 Primary Land Use
                                             FAMILY : 1 UNIT

 Beds / Baths / Half                        9/12/0

 Floors                                     3

 Living Units                                1

                                                                                                                         2022 Aerial Photography
Actual Area                                 21,067 Sq.Ft                                                                                                 600ft

 Living Area                                 18,343 Sq.Ft
                                                                                           Taxable Value Information
Adjusted Area                                18,033 Sq.Ft
                                                                                                                                       2022               2021                2020
 Lot Size                                   48,266 Sq.Ft
                                                                                            County
Year Built                                  2016
                                                                                            Exemption Value                       $50,000              $50,000              $50,000

Assessment Information                                                                     Taxable Value                   $10,799,343            $10,483,343         $10,337,913

Year                                     2022                2021                 2020     School Board

 Land Value                      $20,513,050         $13,514,480         $12,549,160        Exemption Value                       $25,000              $25,000              $25,000

 Building Value                  $13,484,131         $13,362,811         $13,502,007       Taxable Value                   $10,824,343            $10,508,343         $10,362,913

XF Value                            $190,293            $192,269             $194,244       City

 Market Value                    $34,187,474         $27,069,560         $26,245,411        Exemption Value                       $50,000              $50,000              $50,000

Assessed Value                   $10,849,343         $10,533,343         $10,387,913       Taxable Value                   $10,799,343            $10,483,343         $10,337,913

                                                                                            Regional

 Benefits Information                                                                       Exemption Value                       $50,000              $50,000              $50,000
 Benefit             Type                          2022           2021            2020     Taxable Value                   $10,799,343            $10,483,343         $10,337,913
Save Our             Assessment
                                          $23,338,131 $16,536,217 $15,857,498
 Homes Cap           Reduction                                                             Sales Information

 Homestead           Exemption                   $25,000       $25,000        $25,000                                      OR
                                                                                            Previous
Second                                                                                                           Price    Book-                 Qualification Description
                     Exemption                   $25,000       $25,000        $25,000       Sale
 Homestead                                                                                                                Page

 Note: Not all benefits are applicable to all Taxable Values (i.e. County, School                                        28303-        Financial inst or "In Lieu of Forclosure"
                                                                                           09/17/2012 $2,000,100
 Board, City, Regional).                                                                                                  0033         stated

                                                                                                                          18281-       Sales which are disqualified as a result of
                                                                                           09/01/1998               $0
Short Legal Description                                                                                                   1490         examination of the deed

 STAR ISLAND CORR PL PB 31-60                                                                                            09958-
                                                                                           02/01/1978       $250,000                   Sales which are qualified
 LOT 42                                                                                                                   2338

 LOT SIZE 48266 SQ FT
 OR 18281 -1490 0998 4


The Office of the Property Appraiser is continually editing and updating the tax roll. This website may not reflect the most current information on record. The Property Appraiser
and Miami-Dade County assumes no liability, see full disclaimer and User Agreement at http://www.miamidade.gov/info/disclaimer.asp


Version:
      Case
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         11:58 AM                               Document 7-1 Entered onbyFLSD
                                                                  Detail          Docket 12/02/2024 Page 18 of 75
                                                                         Entity Name

 Florida Department of State                                                                                         Division of Corporations




      Department of State / Division of Corporations / Search Records / Search by Entity Name /



         Detail by Entity Name
         Florida Limited Liability Company
         PRIVATE MUSIC LLC
         Filing Information

         Document Number                  L20000215705
         FEI/EIN Number                   XX-XXXXXXX
         Date Filed                       07/22/2020
         Effective Date                   07/22/2020
         State                            FL
         Status                           ACTIVE
         Principal Address

         9848 NORTHWEST 56TH PL
         CORAL SPRINGS, FL 33076
         Mailing Address

         9848 NORTHWEST 56TH PL
         CORAL SPRINGS, FL 33076
         Registered Agent Name & Address

         Valenzuela, Yomil
         9848 NORTHWEST 56TH PL
         CORAL SPRINGS, FL 33076


         Name Changed: 03/10/2021
         Authorized Person(s) Detail

         Name & Address


         Title MGR


         VALENZUELA, YOMIL
         9848 NORTHWEST 56TH PL
         CORAL SPRINGS, FL 33076


         Annual Reports

         Report Year            Filed Date
         2021                   03/10/2021
         2022                   03/17/2022
         2023                   03/15/2023


https://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=PRIVATE…   1/2
      Case
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         11:58 AM                                  Document 7-1 Entered onbyFLSD
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                                                                            Entity Name
        Document Images

         03/15/2023 -- ANNUAL REPORT               View image in PDF format

         03/17/2022 -- ANNUAL REPORT               View image in PDF format

         03/10/2021 -- ANNUAL REPORT               View image in PDF format

         07/22/2020 -- Florida Limited Liability   View image in PDF format




                                                               Florida Department of State, Division of Corporations




https://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?inquirytype=EntityName&directionType=Initial&searchNameOrder=PRIVATE…   2/2
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FILM AND PRINT PERMIT INFORMATION
Phone:(305) 673-7070 Fax:(305) 673-7063


Permit#            22-442               Production must provide a copy of this permit to all hired off duty police officers for review
                                        before comencement of production activities.
                                        City Wide permit does not grant use of residential property throughout the City of Miami
Permit Date:       11/22/2022           Beach.



Client Name:       Private Music LLC                                                 Telephone:      9547988599

 of                9848 NW 56TH PLACE Coral Springs                                  Purpose:        Web/Radio

Product:           Earn Your Leisure Podcast

Contact Info:      Yomil Valenzuela 9547988599

Email:             yomilvm2@gmail.com

                                        Approved by:


 This permit allows for filming or photography in Miami Beach with the following conditions:
 ***Production must comply with all applicable Federal, State, County, and local guidelines, rules, and regulations including
 observing CDC COVID-19 recommendations on social distancing, face coverings, and sanitation***

 Ref. Self-Contained filming at 42 Star Island by private arrangement, with notifications to affected properties and approval from
 PSHI HOA.

 * Production must be accompanied by MBPD off-duty officer at all times. Staffing by VincentStella@miamibeachfl.gov
 * All production activity, inclusive of parking and passenger pickup/drop off must be contained within the picture property.
 * No exterior filming, ITC or ROW closures requested or approved
 * No parking on side of the road or swale at any time.
 * Production will take all precautions to ensure safety.
 * No building code exceptions requested or approved
 * Off-site basecamp at Watson Island
 * DJ from 10am to 8pm - All amplified sounds must be directed away from Residential areas (inclusive of Star Island and West
 Ave) and towards the water/MacArthur Causeway.
 * No Noise Ordinance exception has been requested or granted.

 GENERATORS:
 * Generator placement approved as per attached diagrams only.
 * Generator must be placed over absorbent material if over grass, sand or soil.
 * Production must have an appropriate fire extinguisher available on site at all times.
 * No excess fuel or refueling plan has been submitted or approved, as such, production may not perform refueling activities on
 site.
 * Generator placement must ensure exhaust does not feed into any enclosed occupied spaces.

 ***Any additional generators on site, not pictured in approved diagrams, must be reviewed, and approved on site by MDFD off-
 duty officer for placement, safety and cabling. Any additional units approved on site must be documented and submitted to
 VeronicaHennig@miamibeachfl.gov ***

 * Any production activity exceeding the terms of this permit must be accompanied by a supplemental permit.

 * All commercial drone (UAS) uses are prohibited for filming and are not allowed via this permit, unless specific approval is
 granted within this film permit and via specifications of FAA Section 333 exemption requirements.

 *This permit grants no use of weapons (including prop or toy weapons), large props, stunt activity (including simulated fighting),
 pyrotechnics or any uses that would constitute public endangerment unless explicitly coordinated and approved in the above
 permit conditions.

 *Noise Ordinance in effect at all times.

 Start Date     End Date       Time                   Location                                  Address

 11/30/2022     11/30/2022     8am to 7pm             Residential                               Picture Property - 42 Star Island

 12/1/2022      12/1/2022      12pm to 7pm            Residential                               Picture Property - 42 Star Island

 12/2/2022      12/2/2022      12pm to 10pm           Residential                               Picture Property - 42 Star Island

 12/3/2022      12/3/2022      8am to 6pm             Residential                               Picture Property - 42 Star Island

  Tuesday, November 29, 2022
 Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 23 of 75



FILM AND PRINT PERMIT INFORMATION
Phone:(305) 673-7070 Fax:(305) 673-7063




 Applicant/Permittee warrants that Applicant/Permittee has reviewed and agreed to be governed by the terms and conditions of
 the City of Miami Beach Film and Print requirements and Guidelines. Applicant/Permittee's commencement of the productions
 activities detailed above shall be deemed a further representation by Applicant/Permittee of its acceptance and agreement to be
 bound by said terms, conditions and all above remarks.




  Tuesday, November 29, 2022
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 24 of 75


     From:                  Hennig, Veronica
     To:                    Curitore, Thomas; Singh, Narinder; Betancourt, Francois
     Cc:                    Blanco, Mindy; Monserrat, Marcia; Vallecillo, Francys; Arrogante, Lissette; Stella, Vincent
     Subject:               RE: 42 Star Island - Update (Permit Revoked)
     Date:                  Thursday, December 1, 2022 7:28:33 PM
     Attachments:           image002.png
                            image003.png


    + Building Dept and Fire -

    @Betancourt, Francois @Singh, Narinder

    Given that the structures in the pictures attached were not used strictly for production, and were
    accessible by the general public  they dont meet the benchmarks for exception from building dept
    regulations under Film, would they be a violation?

    Please note, during the permitting process, production dropped the request for the inclusion of
    these Temp Structures in the permit (due to lack of information and time to go through fire/safety
    review) so they could be included in their permit under the FL building code exception for Film.

    As such, they were not included in the permit (the language  No building code exceptions requested
    or approved" is included)




    Veronica Hennig, Film & Print Production Liaison
    TOURISM & CULTURE DEPARTMENT
    1755 Meridian Avenue, Suite #500, Miami Beach, 33139
    Main: 305.673.7577 x 2711 | Direct: 305.673.7070 |
    www.filmiamibeach.com | www.miamibeachfl.gov

    We are committed to providing excellent public service and safety to all who live, work and play in our vibrant, tropical, historic
    community.
    PLEASE NOTE: If your production requires Parking Rental arrangements, a complete and accurate Parking Space
    Rental Application must be submitted to the Parking Department (3) business days in advance, non-
    metered/residential areas require (5) business days notice.
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    From: Hennig, Veronica
    Sent: Thursday, December 1, 2022 5:59 PM
    To: Curitore, Thomas <ThomasCuritore@miamibeachfl.gov>
    Cc: Blanco, Mindy <MindyBlanco@miamibeachfl.gov>; Monserrat, Marcia
    <MarciaMonserrat@miamibeachfl.gov>; Vallecillo, Francys <FrancysVallecillo@miamibeachfl.gov>;
    Arrogante, Lissette <LissetteArrogante@miamibeachfl.gov>; Stella, Vincent
    <VincentStella@miamibeachfl.gov>
    Subject: RE: 42 Star Island - Update

    Attached please find the permittees documents  Ive cancelled the permit attached and am
    instructing production that they must load out completely tonight.
    They can not return tomorrow.
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    PD is on site and Sgt Stella is asking them to stay until everything is done.




    Veronica Hennig, Film & Print Production Liaison
    TOURISM & CULTURE DEPARTMENT
    1755 Meridian Avenue, Suite #500, Miami Beach, 33139
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    Rental Application must be submitted to the Parking Department (3) business days in advance, non-
    metered/residential areas require (5) business days notice.


    From: Curitore, Thomas <ThomasCuritore@miamibeachfl.gov>
    Sent: Thursday, December 1, 2022 5:35 PM
    To: Hennig, Veronica <VeronicaHennig@miamibeachfl.gov>
    Cc: Blanco, Mindy <MindyBlanco@miamibeachfl.gov>; Monserrat, Marcia
    <MarciaMonserrat@miamibeachfl.gov>; Vallecillo, Francys <FrancysVallecillo@miamibeachfl.gov>;
    Arrogante, Lissette <LissetteArrogante@miamibeachfl.gov>
    Subject: Re: 42 Star Island - Update

    We are in the process of giving them a. Violation for operating out of their SEP. people are arriving
    by Uber etc and using the qr code at the gate.

    MIAMIBEACH
    Tom Curitore
    Assistant Director
    CODE COMPLIANCE DEPARTMENT
    1680 Meridian Avenue Suite 602, Miami Beach, FL
    E-Mail: ThomasCuritore @miamibeachfl.gov


             On Dec 1, 2022, at 10:58 AM, Hennig, Veronica <VeronicaHennig@miamibeachfl.gov>
             wrote:


             Mindy,

             Per our conversation, Ive reiterated to production that under no circumstances should
             individual attendees be coming up to the gate with a QR code for entry, that all their
             extras must be shuttled over from their basecamp at Watson Island as originally
             agreed.

             If anyone comes up to the gate with a QR code or ticket. Capt Williams at the gate will
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 27 of 75


         inform us through Amy (HOA) and get an image if he can, at which point I will contact
         you directly.

         Ive attached the existing permit with their ROS for today. Thanks for scheduling the
         site visit today as well.

         Please let me know if you have any additional questions,

         Veronica Hennig, Film & Print Production Liaison
         TOURISM & CULTURE DEPARTMENT
         1755 Meridian Avenue, Suite #500, Miami Beach, 33139
         Main: 305.673.7577 x 2711 | Direct: 305.673.7070 |
         www.filmiamibeach.com | www.miamibeachfl.gov

         We are committed to providing excellent public service and safety to all who live, work and play in our vibrant, tropical,
         historic community.
         PLEASE NOTE: If your production requires Parking Rental arrangements, a complete and accurate
         Parking Space Rental Application must be submitted to the Parking Department (3) business days in
         advance, non-metered/residential areas require (5) business days notice.
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                                                                                                              11/29/2022




                                                                          FFI Program Support
    Veracity Insurance Solutions, LLC.                                    844.670.1078
    260 South 2500 West, Suite 303                                        info@fullframeinsurance.com
    Pleasant Grove                     UT    84062
                                                                          Lyndon Southern Insurance Company       10051

    Private Music LLC
    9848 Northwest 56th Place
    Coral Springs                    FL     33076




                                                                                                                  1,000,000
      x                                                                                                             300,000
                                    x
                       x                                                                                              5,000
A                                               FVP017740-00          11/30/2022   12/02/2022                     1,000,000
                                                                                                                  2,000,000
                                                                                                                EXCLUDED
      x




Certificate holder had been added as additional insured regarding the above mentioned policy per attached
Additional Insured - Owners, Lessees, Contractors - Scheduled person or organization (CG20 10, ED. 04 13)




    City Of Miami Beach
    1700 Convention Center Drive
    Miami Beach, FL 33139
   Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 29 of 75
                                                                                                     COMMERCIAL GENERAL LIABILITY
Policy Number: FVP017740
                                                                                                                    CG 20 10 04 13



                          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


 ADDITIONAL INSURED – OWNERS, LESSEES OR CONTRACTORS –
           SCHEDULED PERSON OR ORGANIZATION
This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                               SCHEDULE


   Name Of Additional Insured Person(s) Or Organization(s)                           Location(s) Of Covered Operations

 City Of Miami Beach

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



   A. Section II – Who Is An Insured is amended to include as an However:
      additional insured the person(s) or organization(s) shown in the
      Schedule, but only with respect to liability for "bodily injury", 1. The insurance afforded to such additional insured only
      "property damage" or "personal and advertising injury" caused,       applies to the extent permitted by law; and
      in whole or in part, by:                                          2. If coverage provided to the additional insured is required by
                                                                           a contract or agreement, the insurance afforded to such
      1. Your acts or omissions; or
                                                                           additional insured will not be broader than that which you
      2. The acts or omissions of those acting on your behalf;
                                                                           are required by the contract or agreement to provide for
      in the performance of your ongoing operations for the                such additional insured.
      additional insured(s) at the location(s) designated above.




CG 20 10 04 13                                   © Insurance Services Office, Inc., 2012
                                                             (Page 1 of 2)
  Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 30 of 75
   B. With respect to the insurance afforded to these additional      C. With respect to the insurance afforded to these additional
      insureds, the following additional exclusions apply: This          insureds, the following is added to Section III – Limits Of
      insurance does not apply to "bodily injury" or "property           Insurance: If coverage provided to the additional insured is
      damage" occurring after:                                           required by a contract or agreement, the most we will pay on
                                                                         behalf of the additional insured is the amount of insurance:
      1. All work, including materials, parts or equipment
         furnished in connection with such work, on the                  1. Required by the contract or agreement; or
         project (other than service, maintenance or repairs) to         2. Available under the applicable Limits of Insurance shown
         be performed by or on behalf of the additional                     in the Declarations;
         insured(s) at the location of the covered operations
         has been completed; or                                          whichever is less.
      2. That portion of "your work" out of which the injury or          This endorsement shall not increase the applicable Limits of
         damage arises has been put to its intended use by               Insurance shown in the Declarations.
         any person or organization other than another
         contractor or subcontractor engaged in performing
         operations for a principal as a part of the same
         project.




CG 20 10 04 13                                   © Insurance Services Office, Inc., 2012
                                                             (Page 2 of 2)
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 31 of 75




        Q MIAMI BEACH
       City of Miami Beach, 1700 Convention Center Drive, Miami Beach, Florida 33139, www.miamibeachfl.gov


       Tourism, Culture & Economic Development
       Office of Film and Event Production Management
       1755 Meridian Avenue, Fifth Floor, Miami Beach, Florida 33139
       Tel: 305-673-7577, Film line: 305-673-7070, Email: film@miamibeachfl.gov




       Miami Beach requires a fully completed indemnity agreement before any permits may be issued.


       For any production, including those based outside of the United States, the Indemnity Agreement
       must be executed by the same named entity providing insurance and as listed as the permitee in
       relation to each project. Completing this paperwork is the responsibility of the permitting company
       and NOT the insurer.


       The Indemnity shall only be considered completed when it has received a Government-issued
       corporate seal (imprint on original) or has been notarized. Both are not necessary

       You may scan and email or fax the final documents to the number/ address listed below as long as
       they are legible. Originals must be mailed to replace them.


       The Indemnity, once executed and approved, is valid for a period of three (3) years from the date
       that appears on the acknowledgement page of the document.

       PLEASE CHOOSE THE PROPER DESIGNATION: You will notice that there are three designations
       for the type of indemnifying entity (corporation, sole proprietor or partnership), defined by the type of
       operation and how the entity's taxes are filed. You must indicate the correct designation.

       PLEASE NOTE THE SECTION FOR WORKER'S COMPENSATION,                                           You must indicate in the
       appropriate box and provide the necessary coverage when required.

      The Indemnity may only be signed by an authorized representative granted legal signing authority of
      the permitting entity. Signing this form without legal authorization of the permitting entity constitutes
      fraud. This representative must additionally initial page one of the indemnity at the bottom right
      corner in the space provided.




                                                      Any Questions? Contact Us!
                                                  Miami Beach Film and Print Office
                                                  1 755 Meridian Avenue, Fifth Floor
                                                       Miami Beach, FL 331 39
                                                          Phone: 305-673-7070
                                                           Fax : 786-394-4559
                                                    Email: film@miamibeachfl.gov
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                           CITY OF MIAMI BEACH - OFFICE OF FILM & PRINT
                                              INDEMNITY AGREEMENT

   1.   IN CONSIDERATION OF the City of Miami Beach allowing and permitting

                  PnvcA-g                   LL6 .
                           (Name of business entity/individual)


        designated by operation and tax purposes as a/ an

                Corporation
                Individual/ Sole Proprietor
                Partnership


        (“Indemnitor"), having its principal place of business at



        (Street address)                                                           Ci
                                                          (City\ ”State/—Province, Country, zip/ postal code)

        to conduct lawful activities relative to the commercial print photography and/or film industry for three
        (3) years from the date of execution of this agreement, Indemnitor agrees to indemnify and save
        harmless the City of Miami Beach, Florida (“City”), its agents, officials, and employees for and on
        account of the City to make defense against, any and all claims, actions, demands, suits, liabilities,
        damages and payments, in tort or in contract, including, without limitation, accidents, liability or loss
        for injuries to or deaths of persons or damages to property caused by any act or failure to act of the
        Indemnitor in any way relating to its preparation, operations or other activities within the City of
        Miami Beach relating to all special events, photo shoots and/or filming, regardless of whether the
        same are on or off premises owned by the City of Miami Beach, and shall extend to all locations
        within the City of Miami Beach.

   2.   Indemnitor shall, on or before date of production start, as a condition precedent to being allowed to
        conduct their/ its activities, deliver to the City of Miami Beach, Office of Film & Event Production
        Management, located at City Hall, 1700 Convention Center Drive, Miami Beach, Florida 33139,
        certificates of insurance providing for both comprehensive general liability (including contractual
        liability) insurance with a minimum coverage of one million ($1,000,000.00) dollars per occurrence
        per person, and accident, and Worker’s Compensation Insurance (as required by Florida Statutes).

   3.   Indemnitor agrees to provide comprehensive general liability insurance which must name the City
        of Miami Beach (with full mailing address) as an additional insured thereon.

   4.   Indemnitor must check one of the following boxes with regards to Worker’s Compensation:
                    Indemnitor is required to carry Worker’s Compensation by Florida Statutes or entity’s
                    local equivelent and agrees to provide evidence of such coverage.
                [if Indemnitor is not required to carry Worker’s Compensation by Florida Statutes or
                       entity’s local equivelent.


   5.   The liability and Worker’s Compensation insurance coverage shall be issued by an insurance
        company duly authorized to do business in the State of Florida and rated B+ VI or better per A.M.
        Best’s Key Rating Guide, latest edition. Indemnitor warrants and represents that it has notified its
        insurance agent of the contents of this Indemnity Agreement, and has supplied the agent with a
        copy.




                                                                              Initials of Indemnitor (required)   yy-
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 33 of 75


         IN WITNESS WHEREOF, the Indemnitor has executed this Agreement this

         day of                                                                                                                , 20

         INDEMNITOR:                                  Vp \fY\oAiC
                                          (print name of Corporation, Individual/ Sole Proprietor or Partnership)



         CORPORATE SEAL                                             BY:                   XJ 1?-
          (affix here)                                                                   (Signature of authorized representative)



                                                                                         (Print name and title of person signing)




  ACKNOWLEDGEMENT
  State Of                                                On this the                      day of (\^QU<2X'hI^£-'Vz                        ., 20<SQ-r

                                                           Before me, the undersigned Notary Public of the State of

  County of                                                  Rd di oy^x                                                   , personally appeared

                                                          ^lomiu                                                                , and whose name is
                                                           (Print name of individual who appeared before Notary Public)


                                                          subscribed to the within instrument, and he/she acknowledge that
                                                          he/she executed it. WITNESS my hand and official seal.


      NOTARY SEAL
             (affix here)                                  (Signature of Notary Public)

                                                           NOTARY PUBLIC, STATE OF
                            Sweeta Birbal
       *0<sV\^              State of Florida                                                            il_
              V^My Commission Expires 10/07/2023                    (Name of Notary Public: print, stamp, or type as commissioned)
                     Commission No. GG 920058
                                                                          Personally know to me , or                        Produced Identification:

                                                                     <£)£—
                                                                    (Type of Identification produced)


                                                                              DID take an oath, or                             DID NOT take an oath.


  Form Approved
  Legal Department, 2014




                                      tanaftsnA
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 34 of 75




   Earn Your Leisure Podcast - Production Schedule

   Parking Information
   Parrot Jungle Trail Miami FL 33134 US

   Staff Shuttle - Start Time - 8 :00 AM -
   Guest shuttles - Start Time - 12:00 PM -

   Officers Confirmed

   150 People Confirmed

   Load in - November 30, 2022
   8am-2pm
   Setting up stage
   Furniture
   Lighting
   Sound
   Decor

   November 30, 2022
   Start Time 2pm
   Podcast prep 2:30pm
   Shoot 3pm-5pm
   Finish time 7pm -

   December 1, 2022
   Start Time 12pm
   Podcast prep 1pm
   Shoot 3pm-5pm
   Finish time 7pm

   December 2 2022
   Start Time 12pm
   Podcast prep 1pm
   Shoot 3pm-8pm
   Finish time 10pm


   Load out
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 35 of 75



   December 3, 2022
   8am - 6pm
   Breakdown stage
   Pack equipment


   Stage Dimensions

   2’ high
   20’ wide




   Podcaster: Earn Your Leisure Podcast

   Podcast Talent

   Artist: Dawn Okoro
   Artist: Tania Rivilis
   Artist: Samantha Ferrer
   Artist: Alaina Forde
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 36 of 75


    From:          Blanco, Mindy
    To:            Blanco, Mindy
    Date:          Thursday, December 1, 2022 6:26:53 PM
    Attachments:   IMG_1598.PNG
                   IMG_1590.PNG
                   IMG_1585.PNG
                   IMG_1594.PNG
                   IMG_1588.PNG
                   IMG_1602.PNG
                   IMG_1606.PNG
                   IMG_1608.PNG
                   IMG_1597.PNG
                   IMG_1600.PNG
                   IMG_1592.PNG
                   IMG_1586.PNG
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 37 of 75
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 38 of 75


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            Event
     Program
              Features




            Hors D'oeuvres



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                                         & houseofpod.escapelux.com




                                         Hors D'oeuvres



                                     Cocktails
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Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 39 of 75


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                     VIP Lounge



                      Red Carpet




                      Dance Floor
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 40 of 75



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                         houseofpod.escapelux.com




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                      Live DJ and
    0 Performances

                      Moments
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 41 of 75




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                                               Exclusive Artists

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            The Timeline




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Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 42 of 75


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                         houseofpod.escapelux.com




                       The Timeline




         9




            -B Grand
                                  Opening
                                 11/30/2022

                                 12:00 P.M. 4:00 P.M.

                                 - 6:00 P M            FST
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 43 of 75




            -B Following
                                    Through
                                    12/01/2022



         6:14           10m                                      .Hl OD

                      A houseofpod.escapelux.com




            -B                      Following
                                    Through
                                    12/01/2022
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 44 of 75



                                    12:00 P.M. - 6:00

                                    P.M. EST




            -fl Closing
                                  Ceremony
                                 12/02/2022

                                 12:00 P.M. - 9:00

                                  P.M. EST




         6:14           10m                                •II
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Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 45 of 75




                         houseofpod.escapelux.com




                          Activation Begins

                           11/30/2022


                                 00 Days


                                  00 Hrs


                                  00 Min


                                  00 Sec



                              RSVP NOW
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 46 of 75




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             a 20.000-square -foot

             property with a beautiful

             waterfront view of trie

             bay area cn Star island

             for the most exclusive

             event in the history of

             Art Basel Miami Beach




                                                3




                                                «
Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 47 of 75




    Kindest Regards,

    null



    Mindy Blanco, Code Compliance Officer II
    Code Compliance Department
    1680 Meridian Ave- Suite #602, Miami Beach, Florida 33139
    Tel: 305-673-7000 Ext. 22144 Fax 786-394-2428/ MindyBlanco@miamibeachfl.gov
     Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 48 of 75

FW: 42 Star Island - Update

From: Varela, Kenneth KennethVarela@miamibeachfl.gov
  To: Giraldo, Danny DannyGiraldo@miamibeachfl.gov
Date: Fri, Dec 2, 2022, 2:47 PM
      22-442 - Private Music LLC - Earn Your Leisure Podcast - 113022 -
      120322.pdf 113 KB
      Certificate (CG 2010)_FVP017740.pdf 485 KB
      City of Miami Beach, 1700 Convention Center Drive, Miami Beach, Florida
      33139, www.miamibeachfl.gov.pdf 1.1 MB
      Earn Your Leisure Podcast RUN of show.pdf 48 KB




Kenneth Varela
Code Compliance Administrator
Code Compliance Department
1680 Meridian Ave #602, Miami Beach, Fl. 33139
Business Hours Monday- Lobby Closed to the public
Lobby open to the public Tuesday- Friday 8:30am-12:00pm
Closed for lunch 12:00pm-1:00pm
Lobby Open 1:00pm-4:30pm
Tel: 305-673-7000 x 26762
KennethVarela@MiamiBeachFl.Gov
We are committed to providing excellent public service and safety to all who live, work and play in our
vibrant, tropical, historic community.


From: Hennig, Veronica <VeronicaHennig@miamibeachfl.gov>
Sent: Friday, December 2, 2022 2:12 PM
To: Varela, Kenneth <KennethVarela@miamibeachfl.gov>
Subject: Fw: 42 Star Island - Update

Please see attached


                                                    1/4
     Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 49 of 75


From: Hennig, Veronica
Sent: Thursday, December 1, 2022 5:59 PM
To: Curitore, Thomas <ThomasCuritore@miamibeachfl.gov>
Cc: Blanco, Mindy <MindyBlanco@miamibeachfl.gov>; Monserrat, Marcia
<MarciaMonserrat@miamibeachfl.gov>; Vallecillo, Francys
<FrancysVallecillo@miamibeachfl.gov>; Arrogante, Lissette
<LissetteArrogante@miamibeachfl.gov>; Stella, Vincent
<VincentStella@miamibeachfl.gov>
Subject: RE: 42 Star Island - Update

Attached please find the permittee’s documents – I’ve cancelled the permit attached
and am instructing production that they must load out completely tonight.
They can not return tomorrow.

PD is on site and Sgt Stella is asking them to stay until everything is done.




Veronica Hennig, Film & Print Production Liaison
TOURISM & CULTURE DEPARTMENT
1755 Meridian Avenue, Suite #500, Miami Beach, 33139
Main: 305.673.7577 x 2711 | Direct: 305.673.7070 |
www.filmiamibeach.com | www.miamibeachfl.gov


We are committed to providing excellent public service and safety to all who live, work and play in our
vibrant, tropical, historic community.
PLEASE NOTE: If your production requires Parking Rental arrangements, a complete and
accurate Parking Space Rental Application must be submitted to the Parking Department
(3) business days in advance, non-metered/residential areas require (5) business days’
notice.

From: Curitore, Thomas <ThomasCuritore@miamibeachfl.gov>
Sent: Thursday, December 1, 2022 5:35 PM
To: Hennig, Veronica <VeronicaHennig@miamibeachfl.gov>
Cc: Blanco, Mindy <MindyBlanco@miamibeachfl.gov>; Monserrat, Marcia
                                                     2/4
    Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 50 of 75

<MarciaMonserrat@miamibeachfl.gov>; Vallecillo, Francys
<FrancysVallecillo@miamibeachfl.gov>; Arrogante, Lissette
<LissetteArrogante@miamibeachfl.gov>
Subject: Re: 42 Star Island - Update


We are in the process of giving them a. Violation for operating out of their SEP.
people are arriving by Uber etc and using the qr code at the gate.

MIAMIBEACH
Tom Curitore
Assistant Director
CODE COMPLIANCE DEPARTMENT
1680 Meridian Avenue Suite 602, Miami Beach, FL
E-Mail: ThomasCuritore @miamibeachfl.gov



 On Dec 1, 2022, at 10:58 AM, Hennig, Veronica
 <VeronicaHennig@miamibeachfl.gov> wrote:


 Mindy,

 Per our conversation, I’ve reiterated to production that under no circumstances
 should individual attendees be coming up to the gate with a QR code for entry, that
 all their extras must be shuttled over from their basecamp at Watson Island as
 originally agreed.

 If anyone comes up to the gate with a QR code or ticket. Capt Williams at the gate
 will inform us through Amy (HOA) and get an image if he can, at which point I will
 contact you directly.

 I’ve attached the existing permit with their ROS for today. Thanks for scheduling the
 site visit today as well.

 Please let me know if you have any additional questions,

                                           3/4
    Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 51 of 75



Veronica Hennig, Film & Print Production Liaison
TOURISM & CULTURE DEPARTMENT
1755 Meridian Avenue, Suite #500, Miami Beach, 33139
Main: 305.673.7577 x 2711 | Direct: 305.673.7070 |
www.filmiamibeach.com | www.miamibeachfl.gov


We are committed to providing excellent public service and safety to all who live, work and play in our
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PLEASE NOTE: If your production requires Parking Rental arrangements, a complete
and accurate Parking Space Rental Application must be submitted to the Parking
Department (3) business days in advance, non-metered/residential areas require (5)
business days’ notice.




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                           Case 1:24-cv-24690-KMM
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       Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 53 of 75




                                                                  IN AND BEFORE THE SPECIAL MAGISTRATE
                                                                          OF THE CITY OF MIAMI BEACH, FL
                                                                           Miami Beach, Miami-Dade County, FL
                                                                                         Special Magistrate Case#: SMA2022-03450
                                                                                                         Violation#: CC2022-14452
           Private Music, LLC- Valenzuela, Yomil

                           Petitioner,

                           V.

           CITY OF MIAMI BEACH,

                           Respondent.



                    AN ADMINISTRATIVE HEARING was held before the Special Magistrate of the City of Miami Beach, Florida, on
           October 16, 2023, at the request of the Petitioner, for the purpose of appealing

            Section 12-5
             Conducting a Special Event without a permit.


            Conducting a special event in the City of Miami Beach without a permit

                      AS A CONSEQUENCE THEREOF, the Conclusion of the Special Magistrate is as follows:
            I.   The appeal is withdrawn.

           2.    The Violator is hereby adjudicated guilty of the 1st offense.

           3.    The fine of$1,000.00 is hereby imposed and is payable to Code Enforcement by November 15, 2023.

           4.    The administrative court cost shall be returned to Petitioner.


           Done and Ordered as of 10/16/2023



           Annette E. Cannon
           As Special Magistrate for the City of Miami Beach
           cc: Department:
           Finance Department
     Case 1:24-cv-24690-KMM Document 7-1 Entered on FLSD Docket 12/02/2024 Page 54 of 75
Case:            ZV2023-05061                                                      City Of Miami Beach Case Notes Summary
Case Status:     Fine Paid                                                                            Printed on: 11/25/2024
Open Date:       12/10/2023                                                                                       Page 1 of 1
Close Date:      01/23/2024
Case Description: REF: Using a single-family home for a commercial use and/or advertising the residential property for a
commercial use and/or advertising the residential property for the purpose of promoting the occupancy or use of the
single-family home for less than 6 months and 1 day, in violation of this ordinance.
REF: NYLON, in partnership with FRAMEWORK, brought NYLON Nights to Miami Art Week -(Featuring other branded partners

Note Text                                                                       Created By                Date
Verified invoice # 00451488 was paid in full, closed case.                      StephanieNoa@miamibeachfl.gov
                                                                                                         01/23/2024

Attached executed Agreed Order, reduced fine to $10,000 per order, and StephanieNoa@miamibeachfl.gov
                                                                                                01/23/2024
created invoice # 00451488. Sent invoice to customer via email,
daisy@lhochsteinmd.com, with payment instructions.
Submitted to CCA Thomas for processing. MB                                      mindyblanco@miamibeachfl.gov
                                                                                                          01/23/2024

Agreed Order. Attached. MB                                                      mindyblanco@miamibeachfl.gov
                                                                                                          01/23/2024

Case has been appealed. SM TBD                                                  mindyblanco@miamibeachfl.gov
                                                                                                          01/10/2024

Wait appeal time frame. MB                                                      mindyblanco@miamibeachfl.gov
                                                                                                          12/28/2023

Obtained service, copy of delivery confirmation attached & created task         LauraAguilar@Miamibeachfl.gov
                                                                                                           12/26/2023
to notify CCO of service obtained.
Received task from CCA authorizing certified mail process. Prepared and LauraAguilar@Miamibeachfl.gov
                                                                                                   12/12/2023
sent certified mail
I received the case paperwork from issuing Officer to have the case             RianneThomas@miamibeachfl.gov
                                                                                                       12/12/2023
processed for Certified Mail. I will turn the case over to clerical today for
processing. R.Thomas
Submitted to CCA for Review–Certified Mail                                      mindyblanco@miamibeachfl.gov
                                                                                                          12/11/2023

Site inspection did not reveal any activity at the residence. I research  mindyblanco@miamibeachfl.gov
                                                                                                    12/10/2023
online on World Red Eye website, social media and I was able to locate
on Social Media postings of an event that took place within the residence
with NYLON, in partnership with FRAMEWORK, brought NYLON Nights
to Miami Art Week -(Featuring other branded partners Body Amour &
Patron Tequila). Which is prohibited in zone RS-1
 Notice of violation was issued. BWC was not needed for internet
research only for the site inspection.
1st Offense: $25,000.00.




                                                                                                                 Ex. 2
DocuSign Envelope ID: 0249972E-6B4F-4F31-AF78-23307C124BE7
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                                                                                                                                 
                                                                                                                                        
                                                                                                                                                      
                                                                                                                                    
                                                                                                                                           
                                                                                                                         

                              
                                                                                                                

                                                                                             

                       
                  
                        
                                                                                      

    
    
    
    
    
    
                                        
                                                  
    
    
    
    
    

    
    

    

    
    
    
    
    

    
    
    

    
    

    
    


                                                                                   
                                                                                                                    
                                                                   
                                                                    
                                                                                          
                                                     



                                                                            
             
          
               




                                              12/10/2023 | 6:22 PM EST

               
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                            IN AND BEFORE THE SPECIAL MAGISTRATE
                              OF THE CITY OF MIAMI BEACH, FLORIDA

                                                      CODE VIOLATION CASE NO.: ZV2023-05061
   LEONARD HOCHSTEIN,

           Petitioner,

   vs.

   CITY OF MIAMI BEACH,

           Respondent.


                         AGREED ORDER MODIFYING MONETARY FINES

           UPON STIPULATION AND AGREEMENT with Robert Switkes, Esquire and on behalf of

   Leonard Hochstein, (hereinafter referenced as the "Petitioner"), and Deputy City Attorney, Steven

   H. Rothstein, counsel to Respondent (hereinafter referenced as the "City"), regarding the code

   enforcement violation referenced above in this Agreed Order against the real property which is

   located at 42 Star Island, Miami Beach, Florida (the "Property"), the respective parties having

   agreed to the terms of this Order,


           IT IS HEREBY ORDERED AND ADJUDGED as follows:

           1.      Petitioner hereby acknowledges that there is a violation of the City Code, Section

   142-109; using a single-family home for a commercial use and/or advertising the residential

   property for a commercial use and/or the transient (short-term) rental and/or occupancy, which

   violation is identified as Code Compliance Case Number ZV2023-05061 (first offense).

           2.     The parties agree that the monetary fine for this violation shall be modified to reflect

   the amount of Ten Thousand and 00/100 Dollars ($10,000), which shall be due on or before

   February 20, 2024. If payment is not made as specified above, the fine shall return to the original

   amount of Twenty-Five Thousand and 00/100 Dollars ($25,000) as set forth in the Notice of

   Violation.
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                                                       CODE VIOLATION CASE NO.: ZV2023-05061


          3.      Petitioner is further ordered to cease and desist using a single-family home for a

   commercial use and/or advertising the residential property for a commercial use and/or the

   transient (short-term) rental and/or occupancy rental or advertisement of the Property in violation

   of the City's Land Development Regulations and shall only utilize the Property as a residential

   dwelling consistent with those requirements set forth with City of Miami Beach's Code of Law and

   Ordinances.

          DONE AND ORDERED by the Special Magistrate of the City of Miami Beach, this 18"

   day of January, 2024.




                                                   ANNETTE E. CANNON, Chief Special Magistrate
                                                                   for the City of Miami Beach

   Copies furnished to:
   Steven H. Rothstein, Deputy City Attorney at StevenRothstein@miamibeachfl.gov
   Robert L. Switkes, Esquire at Rswitkes@switkeslaw.com>




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                                              KGKE@I@ÿ@9D<I@9WLM<B;?ÿB>?ÿ>:>



                                              MEGAÿGÿJ@>MLM<B;?ÿB>?ÿ>:>



                                              :J<99>ÿ<BX@ÿ;<<Y>?ÿK;>>Yÿ@9ÿPHPP;>WHIÿN@9YLM<B;?ÿB>?ÿ>:>



                                              IGY>HNÿIGKA>BKÿNGAB@DYÿAGÿG9?ÿI>B>?@AEÿ?HZPHB:LM<B;?ÿB>?ÿ>:>



                                              9:;<9ÿ9@WEAKÿDG;;ÿF<BÿFB>KEÿF@AKLM<B;?ÿB>?ÿ>:>
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                            IN AND BEFORE THE SPECIAL MAGISTRATE
                              OF THE CITY OF MIAMI BEACH, FLORIDA

                                                      CODE VIOLATION CASE NO.: ZV2023-05061
   LEONARD HOCHSTEIN,

           Petitioner,

   vs.

   CITY OF MIAMI BEACH,

           Respondent.


                         AGREED ORDER MODIFYING MONETARY FINES

           UPON STIPULATION AND AGREEMENT with Robert Switkes, Esquire and on behalf of

   Leonard Hochstein, (hereinafter referenced as the "Petitioner"), and Deputy City Attorney, Steven

   H. Rothstein, counsel to Respondent (hereinafter referenced as the "City"), regarding the code

   enforcement violation referenced above in this Agreed Order against the real property which is

   located at 42 Star Island, Miami Beach, Florida (the "Property"), the respective parties having

   agreed to the terms of this Order,


           IT IS HEREBY ORDERED AND ADJUDGED as follows:

           1.      Petitioner hereby acknowledges that there is a violation of the City Code, Section

   142-109; using a single-family home for a commercial use and/or advertising the residential

   property for a commercial use and/or the transient (short-term) rental and/or occupancy, which

   violation is identified as Code Compliance Case Number ZV2023-05061 (first offense).

           2.     The parties agree that the monetary fine for this violation shall be modified to reflect

   the amount of Ten Thousand and 00/100 Dollars ($10,000), which shall be due on or before

   February 20, 2024. If payment is not made as specified above, the fine shall return to the original

   amount of Twenty-Five Thousand and 00/100 Dollars ($25,000) as set forth in the Notice of

   Violation.
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                                                       CODE VIOLATION CASE NO.: ZV2023-05061


          3.      Petitioner is further ordered to cease and desist using a single-family home for a

   commercial use and/or advertising the residential property for a commercial use and/or the

   transient (short-term) rental and/or occupancy rental or advertisement of the Property in violation

   of the City's Land Development Regulations and shall only utilize the Property as a residential

   dwelling consistent with those requirements set forth with City of Miami Beach's Code of Law and

   Ordinances.

          DONE AND ORDERED by the Special Magistrate of the City of Miami Beach, this 18"

   day of January, 2024.




                                                   ANNETTE E. CANNON, Chief Special Magistrate
                                                                   for the City of Miami Beach

   Copies furnished to:
   Steven H. Rothstein, Deputy City Attorney at StevenRothstein@miamibeachfl.gov
   Robert L. Switkes, Esquire at Rswitkes@switkeslaw.com>




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